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                                               UNITED STATES DISTRICT COURT
                                               FOR THE DISTRICT OF COLUMBIA

United States
                       Plaintiff

                       v.                                                             Criminal Case No.: 21-CR-140 (JDB)

Larry Rendall Brock
                       Defendant


                                         TRIAL EXHIBITS FOR THE UNITED STATES

  Exhibit                                                               Date Marked for   Date Received
                                     Exhibit Description                                                          Witness
   No.                                                                   Identification   Into Evidence
                                                           100 SERIES - MAPS
    101         Map of Capitol Grounds                                                                            S. Patton
    102         Map of Third Floor of Capitol                                                                     S. Patton
    103         January 6, 2021 – Restricted Perimeter (Map)                                                      S. Patton
    104         Third-Party Vendor Three-Dimensional Map                                                          S. Patton
                                        200 SERIES – THIRD PARTY PHOTOGRAPHS AND DOCUMENTS
    201         Photo of West Front of Capitol                                                                   S. Patton
    202         Photo of West Side Capitol (no scaffolding)                                                      S. Patton
    203         Photo of West Side Capitol (no scaffolding) red box                                              S. Patton
    204         Photo of Snow Fencing/Bike Racks                                                                 S. Patton
    205         Email Attachment U.S. Secret Service Head of State                                               E. Glavey
                Notification for VP Pence – 01/05/2021
    206         U.S. Secret Service Head of State Notification for VP                                            E. Glavey
                Pence – 01/05/2021
    207         Radio Run Recording – 01/06/2021 (“Breached                                                      E. Glavey
                Building”)
    208         Radio Run Recording – 01/06/2021 (“Making Access                                                 E. Glavey
                to Second Floor”)



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                                   UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA
Exhibit                                                       Date Marked for   Date Received
                         Exhibit Description                                                    Witness
 No.                                                           Identification   Into Evidence
 209      Radio Run Recording – 01/06/2021 (“People Five to                                     E. Glavey
          Ten Feet Away”)
 210      Photo Stop the Steal Rally                                                            S. Patton
 211      Photo Brock March to Capitol                                                          S. Patton
 212      Photo Brock Stairs to Speaker’s Office                                                S. Patton
                           300 SERIES – COMMUNICATIONS SEIZED FROM STRAND ’S CELLULAR PHONE
 300      Text Message with M. David – 12/20/2021 &                                             J. Moore
          01/02/2021
 301      Text Message with FNU LNU – 01/06/2021                                                J. Moore
 302      Text Message with FNU LNU – 01/06/2021                                                J. Moore
 303      Text Message with FNU LNU – 01/07/2021                                                J. Moore
 304      Text Message with T. Schulz – 01/08/2021                                              J. Moore
 305      Text Message with D. Bohannon – 01/10/2021                                            J. Moore
                                           400 SERIES – U.S. CAPITOL CCTV VIDEOS
 400      CCTV – USCP Compilation West Side                                                     S. Patton
 401      CCTV – Time Lapse (West Side)                                                         S. Patton
 402      CCTV – East Front (VP Motorcade)                                                      S. Patton
 403      CCTV – Senate Lobby Door (VP Pence Leaving)                                           S. Patton
 404      CCTV – Senate Gallery E                                                               S. Patton
 405      CCTV – Senate Gallery SW                                                              S. Patton
 406      CCTV – Senate Hallway                                                                 S. Patton
 407      CCTV – West Stairs                                                                    S. Patton
 408      CCTV – Senate Gallery W                                                               S. Patton
 409      CCTV – West Stairs                                                                    S. Patton
 410      CCTV – Rotunda Lobby                                                                  S. Patton
 411      CCTV – Senate Wing Doors                                                              S. Patton
 412      CCTV – Rotunda South                                                                  S. Patton
 413      CCTV – Rotunda Door Interior                                                          S. Patton
 414      CCTV – Near S309                                                                      S. Patton


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                                    UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA
Exhibit                                                          Date Marked for   Date Received
                          Exhibit Description                                                       Witness
 No.                                                              Identification   Into Evidence
 415      CCTV – East Corridor                                                                      S. Patton
 416      CCTV – Gallery Stairs                                                                     S. Patton
 417      CCTV – Senate Chamber                                                                     S. Patton
 418      CCTV – Rotunda Door Interior                                                              S. Patton
 419      CCTV – Senate Gallery SE                                                                  S. Patton
                                             500 SERIES – THIRD PARTY VIDEO
 501      Stop the Steal Rally Video                                                                S. Patton
 502      March to Capitol Video                                                                    S. Patton
 503      West Plaza Stage Video                                                                    S. Patton
 504      Stairs to Speaker’s Office Video                                                          S. Patton
 505      Outside Speaker’s Office Video                                                            S. Patton
 506      Open Source Video                                                                         S. Patton
 507      March to Senate Gallery/Inside Senate Gallery Video                                       S. Patton
 508      Outside of the Capitol Video                                                              S. Patton
                                             600 SERIES – CONGRESSIONAL EXHIBITS
 600      Congressional Montage Video                                                              D. Schwager
 601      U.S. Constitution, Amendment 12                                                          D. Schwager
 602      3 U.S.C. 15                                                                              D. Schwager
 603      3 U.S.C. 16                                                                              D. Schwager
 604      3 U.S.C. 17                                                                              D. Schwager
 605      3 U.S.C. 18                                                                              D. Schwager
 606      Senate Concurrent Resolution                                                             D. Schwager
 607      Congressional Record (House) H75, H76, H84, H85                                          D. Schwager
 608      Congressional Record (Senate) S13, S14, S18                                              D. Schwager
 609      Senate Video Certificate of Authenticity                                                 D. Schwager
 610      House Video Certificate of Authenticity                                                  D. Schwager
                                                   700 SERIES – STIPULATIONS
 700      Stipulation re: Structure and Background of U.S.
          Capitol


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                                   UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA
Exhibit                                                       Date Marked for    Date Received
                         Exhibit Description                                                       Witness
 No.                                                           Identification    Into Evidence
 701      Stipulation re: Authenticity of CCTV Video
 702      Stipulation re: Electoral College Proceedings
 703      Stipulation re: Authenticity of House and Senate
          Recordings
 704      Stipulation re: Authenticity of Body-Worn Camera
 705      Stipulation re: Authenticity of Three-Dimensional
          Capitol Model
 706      Stipulation re: Authenticity of Brock’s Facebook
          Account and Messages
 707      Stipulation re: Authenticity of Items Seized from
          Brock’s Residence and FBI Chain of Custody
 708      Stipulation re: Brock’s ID throughout the Capitol
                                                800 SERIES – BODY WORN CAMERA
 800      BWC – Officer Humphrey                                                                 M. Humphrey
                               900 SERIES – COMMUNICATIONS FROM BROCK’ S FACEBOOK ACCOUNT
 900      11/07/2020 19:45:13 UTC                                                                  J. Moore
 901      11/08/2020 02:44:57 UTC                                                                  J. Moore
 902      11/09/2020 17:00:56 UTC                                                                  J. Moore
 903      11/13/2020 12:58:31 UTC                                                                  J. Moore
 904      12/04/2020 18:09:21 UTC                                                                  J. Moore
 905      12/05/2020 17:25:21 UTC                                                                  J. Moore
 906      12/06/2020 02:50:14 UTC                                                                  J. Moore
 907      12/07/2020 22:01:49 UTC                                                                  J. Moore
 908      12/11/2020 14:34:36 UTC                                                                  J. Moore
 909      12/18/2020 16:16:25 UTC                                                                  J. Moore
 910      12/24/2020 23:27:48 UTC                                                                  J. Moore
 911      12/26/2020 16:11:01 UTC                                                                  J. Moore
 912      12/27/2020 21:34:56 UTC                                                                  J. Moore
 913      12/31/2020 14:54:59 UTC                                                                  J. Moore


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                                    UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA
Exhibit                                                   Date Marked for   Date Received
                        Exhibit Description                                                 Witness
 No.                                                       Identification   Into Evidence
 914      01/01/2021 18:40:57 UTC                                                           J. Moore
 915      01/03/2021 21:53:05 UTC                                                           J. Moore
 916      01/05/2021 02:07:33 UTC                                                           J. Moore
 917      01/06/2021 03:23:39 UTC                                                           J. Moore




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